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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANTHONY JAKES,                                       )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )       Case No. 19 cv 2204
                                                     )
THE CITY OF CHICAGO, et al.,                         )       Judge Manish S. Shah
                                                     )       Magistrate Judge Beth W. Jantz
               Officer Defendants.                   )

               DEFENDANT BOUDREAU’S MOTION FOR PROTECTIVE
               ORDER REGARDING PUNITIVE DAMAGES DISCOVERY

       Defendant KENNETH BOUDREAU, through his undersigned attorneys and pursuant to

Fed. R Civ. P. 26(c), moves this Court for entry of a protective order limiting the scope of

Plaintiff’s punitive damages discovery, and in support thereof, states the following:

                                       INTRODUCTION

       Defendant Kenneth Boudreau has already agreed he will not raise his financial status as a

defense to punitive damages in this case. (Dkt. 287). Plaintiff nonetheless insists that Boudreau

respond to far-reaching discovery of his most private personal financial information. (See Group

Ex. A, Plaintiff’s First Interrogatories to Defendant Officers, No. 7; Plaintiff’s First Requests to

Produce to Defendant Officers, No. 32, 33). Given that Boudreau will not be raising his financial

status as a defense to punitive damages, any discovery of his financial information is unnecessary

and harassing. Moreover, Boudreau has been retired from law enforcement for almost a decade

now, so there is no deterrent value in forcing him to divulge personal financial information. In

short, Boudreau’s private financial information will not make any fact in controversy in this case

more or less probable (Fed. R. Evid. 401), nor is it proportional to the needs of this case because

any punitive damages award would be insignificant compared to the potential compensatory
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damage award. See e.g. Rivera v. Guevara, Case No. 12 CV 44278 (punitive damages award

approximately 1% of the compensatory damages award); Fed. R. Civ. P. 26(b)(1). At bottom,

Plaintiff is on a harassing fishing expedition for information that has no relevance whatsoever to

this case. 1

                                      DISCOVERY AT ISSUE

        Plaintiff requested that Boudreau produce:

                7.     For punitive damages purposes, please estimate your net financial
                worth. Please describe how that net worth has been calculated by providing
                a balance sheet of all assets greater than $2,500 USD (including a
                description of any ownership of stock, mutual funds, real estate, etc.) and
                including all liabilities. Please also provide an income statement for the five
                years prior to the filing of his complaint, including your annual salary and
                any income from any other source for those years.

                32.    All Documents relating to your total financial net worth, including
                your three most recent tax returns. See Group Exhibit A.

This is in addition to Plaintiff’s request that Boudreau also produce:

                “33. All Documents that support a defense by you in this litigation that an award
                of punitive damages would cause financial hardship.”


                                        LEGAL STANDARD

        Federal Rule of Civil Procedure 26 generally allows discovery regarding “any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” F.R.C.P. 26(b)(1). “While discovery is often



1
 Plaintiff’s law firm represents clients with six pending lawsuits against Boudreau. The discovery appears
intended to harass Boudreau and gather information to use in other lawsuits against him.

                                                    2
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broad, the Federal Rules of Civil Procedure authorize district courts to protect targets

of discovery from ‘annoyance, embarrassment, oppression, or undue burden or expense.’” Am.

Int’l Specialty Lines Ins. Co. v. NWI-I, Inc., 240 F.R.D. 401, 412 (N.D. Ill. 2007)), quoting Stagman

v. Ryan, 176 F.3d 986, 993 (7th Cir.1999), quoting F.R.C.P. 26(c); Sullivan v. Conway, 1995 WL

573421, *1, 1995 U.S. Dist. LEXIS 14113, *2 (N.D. Ill. 1995) (recognizing that the policy of

broad discovery is counterbalanced by the ability to limit discovery requests that impose undue

burden or expense). Furthermore, a court may limit discovery if it determines that the burden of

the discovery outweighs its likely benefit. Id. (citing F.R.C.P. 26(b)(2)(iii); Wiginton v. CB

Richard Ellis, Inc., 229 F.R.D. 568, 571 (N.D. Ill. 2004)).

                                           ARGUMENT

   I.      Discovery of Boudreau’s Private Financial Information is Irrelevant and Serves
           No Purpose.

           A. Boudreau has not put his financial condition at issue.

        As previously stated, Boudreau has agreed not to raise his inability to pay as a defense to

Plaintiff’s request for punitive damages, which makes his financial condition irrelevant. The

Seventh Circuit has specifically recognized that personal financial documents such as “tax returns

are highly sensitive documents,” Johnson v. Soo Line R.R. Co., 2019 WL 4037963, * 2 (N.D. Ill.

Aug. 27, 2019) (quoting Commodity Futures Trading Comm’n v. Collins, 997 F. 2d 1230, 1233

(7th Cir. 1993)), that become “relevant, for discovery purposes, where a litigant has put ‘the level

and sources of his income at issue.’” Johnson, 2019 WL 4037963, at * 2 (quoting Poulos v. Naas

Foods, Inc., 959 F. 2d 69, 74-75 (7th Cir. 1992)). Similarly, “the Illinois State Constitution offers

protection for the reasonable expectation of privacy which our citizens have in their bank records.”

See People v. Jackson, 452 N.E. 2d 85, 88-89 (Ill. Ct. App. 1st Dist. 1983); see also In re May

1001 Will Cnty. Grand Jury, 604 N.E. 2d 929, 937 (Ill. 1992) (“[A]rticle I, section 6, of the Illinois

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Constitution of 1970 (Ill. Const. 1970, art. I, § 6) assures citizens a right of privacy in their bank

records.”).

       Here, because Boudreau elects not to assert an inability to pay defense, he has not put “the

level and sources of his income at issue,” Johnson, 2019 WL 4037963, at * 2, and as such, his

financial position is irrelevant. See Morgan v. Spivey, No. 5:16-CV-365-FL, 2019 WL 4463299,

at * 1 (E.D.N.C. Sept. 17, 2019) (citations omitted) (holding that when a defendant did not put his

ability to pay into issue “financial condition becomes irrelevant to the issue of calculating an

appropriate amount of punitive damage”); Soto v. City of New York, No. CV124241-MKB-VVP,

2014 WL 1278275, * 2 (E.D.N.Y. Feb. 25, 2014) (denying motion to compel financial information

where defendants did not raise inability to pay defense because “the plaintiff’s effort to compel the

defendants to disclose extensive personal financial information is little more than a fishing

expedition unlikely to lead to evidence admissible at trial”).

              B. Boudreau’s financial condition is irrelevant to the assessment of a punitive
                 damages award.

       Punitive damages should be based on the wrong, not the status of the defendant. See

Seventh Circuit Model Civil Jury Instructions § 7.28, Committee Comments (a) - (b) (Punitive

damages recoverable if Plaintiff shows by a preponderance of the evidence that actions of that

defendant done knowingly and maliciously with evil motive or intent or reckless callous

indifference to the federally protected rights of others); see also §7.28 Committee Comments (c)

(Defendant’s financial condition language should only be given if evidence was admitted on that

topic). Plaintiff has no burden of production with respect to a Defendant’s financial net worth to

justify such an “exploration.” See Kemezy v. Peters, 79 F. 3d 33, 36 (7th Cir. 1996). Instead, “the

usual practice with respect to fines is not to proportion the fine to the defendant’s wealth, but to




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allow him to argue that the fine should be waived or lowered because he cannot possibly pay it.”

Id. (citing U.S.S.G. §5E1.2(a); United States v. Young, 66 F. 3d 830, 839 (7th Cir. 1995)).

       Nonetheless, and despite the fact that Boudreau has not put the “level and sources of his

income at issue” (Johnson, 2019 WL 4037963 at * 2), Plaintiff seeks wide-ranging and highly

personal financial information through both interrogatories and requests for production. In the

parties’ joint status report (Dkt. 287), Plaintiff asserts that he is entitled to “explore” Boudreau’s

financial condition to justify an increased award of punitive damages because if Boudreau is

wealthy, a larger punitive damages award is warranted to deter future conduct. See Dkt. 287, p. 2

(citing cases regarding the deterrence effect of a punitive damages award based upon individual

wealth). This argument, however, is completely untethered to the specific circumstances here and

turns the standard with respect to punitive damages on its head. Even assuming Plaintiff’s

speculation about Boudreau’s “wealth” was true, the Seventh Circuit has held that an individual

defendant’s “wealth is not a sufficient basis for awarding punitive damages” because it “would be

discriminatory and would violate the rule of law [ ] by making punishment depend on status rather

than conduct.” Mathias v. Accord Economy Lodging, Inc., 347 F. 3d 672, 677 (7th Cir. 2003).

Plaintiff’s approach ignores precedent establishing that punitive damages should be proportional

to the wrongfulness of the defendant’s actions and not to the wrongdoer’s wealth status. Mathias,

347 F. 3d at 676 (“[S]anctions should be based on the wrong done rather than on the status of the

defendant; a person is punished for what he does, not for who he is.”); Morgan, 2019 WL 4463299

at * 1 (“However, the Supreme Court has also cautioned that, with respect to punitive damages,

‘plaintiffs do not enjoy a windfall because they have the good fortune to have a defendant with a

deep pocket.’”) (citing Pacific Mut. Life Ins. v. Halsip, 499 U.S. 1 (1991)).




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       Supreme Court jurisprudence also casts substantial doubt on plaintiff’s rationale. For

example, in State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003), the Court overturned

a punitive damages award it deemed to be excessive, stating that “[t]he precise award in any case,

of course, must be based upon the facts and circumstances of the defendant’s conduct and the

harm to the plaintiff.” Id. at 425 (emphasis added). Although the Court generally observed that the

purposes of punitive damages are deterrence and retribution, see id., 538 U.S. at 416, “the degree

of financial distress imposed on the defendant played no part in the Court’s calculus concerning

the excessiveness of the award.” Soto, 2014 U.S. Dist. LEXIS 24627 at *3 (relying on Campbell

and denying motion to compel individual defendants to provide discovery concerning their

personal finances) (emphasis added). Rather, relying on BMW of N. Am., Inc. v. Gore, 517 U.S.

559 (1996), the Campbell Court identified the following three guideposts for evaluating punitive

damages awards, none of which depends on a defendant’s income or wealth:

       (1) The degree of reprehensibility of the defendant’s misconduct; (2) the disparity
       between the actual or potential harm suffered by the plaintiff and the punitive
       damages award; and (3) the difference between the punitive damages awarded by
       the jury and the civil penalties authorized or imposed in comparable cases.

Campbell, 538 U.S. at 418 (citing Gore, 517 U.S. at 575). In analyzing these and other guideposts,

the Seventh Circuit explicitly acknowledged that a defendant’s wealth has no bearing on the

reasons for punitive damages awards: “What is striking about the purposes that are served by the

awarding of punitive damages is that none of them depends critically on proof that the defendant’s

income or wealth exceeds some specified level.” Kemezy, 79 F. 3d at 35 (emphasis added).

       Recognizing the irrelevance of a defendant’s personal financial condition, courts in our

district have determined that if a defendant introduces his financial condition by asserting an

inability to pay, that the plaintiff be allowed to introduce evidence of indemnification for

compensatory damages, as opposed to a defendant’s personal financial position. See Jones v. City

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of Chicago, 2017 WL 413613, * 4 (N.D. Ill. 2017) (“[Plaintiff] may, however, introduce evidence

of the City’s indemnification if Defendants open the door by presenting evidence of their financial

condition”); Gonzalez v. Olson, 2015 WL 3671641, * 7 (N.D. Ill. 2015) (“[I]f Defendants plead

poverty as to punitive damages, they open the door for Plaintiff to offer evidence of

indemnification as to compensatory damages”); Brinkley v. Santiago, 11 C 6282, 2013 WL

12309671, at *3 (N.D. Ill. July 11, 2013) (granting in part plaintiff’s motion in limine to bar

defendants from introducing evidence regarding their inability to pay punitive damages, but

allowing introduction of evidence concerning indemnification by the City of Chicago for

compensatory damages should defendants introduce their lack of financial means as a defense).

       It is also clear based upon Plaintiff’s assertion that they are seeking this discovery to

“justify an increased award” of punitive damages that he has already determined a range of

punitive damages he intends to seek, which will likely be similar to other punitive damages

requested by Plaintiff’s counsel in similar police misconduct cases. Indeed, in Rivera, defendants

who chose not to put on an inability to pay defense did not produce any financial information

evidence. As a result, in the punitive damage jury instruction at trial, plaintiff’s counsel in Rivera

(the same firm who represents Plaintiff in this case) simply removed the financial condition

element and argued at closing for a punitive damages award of $25,000 to $100,000. (See June

26, 2018 trial transcript of Rivera, 12 CV 4428, at 4119-4120; June 27, 2018 trial transcript in

Rivera, 12 CV 4428, at 4226-4227, Group Exhibit B). The plaintiff in Rivera never argued that the

case could not be prosecuted fully without having the personal financial information from the

individual defendants or that the actual punitive damages awarded was too small to adequately set

a deterrence factor in future misconduct – nor does Plaintiff make that argument here. As

demonstrated in Rivera, Plaintiff’s counsel is capable of determining the amount of punitive



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damages sought without evidence of a Defendant’s financial condition. In fact, the pattern jury

instructions clearly contemplate simply removing the instruction concerning a defendant’s

financial condition should that evidence not be allowed. See Seventh Circuit Model Civil Jury

Instructions § 7.28. Thus, for these reasons too, discovery of Boudreau’s financial information is

plainly not relevant.

           C. Boudreau’s financial information will not increase the deterrence value of a
              punitive damages award.

       Plaintiff’s argument also ignores that knowing Boudreau’s private financial information

will not increase the deterrence value of the punitive damages award at all. Boudreau has long

since been retired. His sole remaining Co-Defendant is deceased. Other officers will not be aware

of his worth (nor should Plaintiff be allowed to publicly disclose this information) to judge how it

will impact Boudreau financially. In short, Plaintiff has provided no legitimate justification for

delving into Boudreau’s most sensitive, private financial information.

       An award of punitive damages will have no effect of deterring Boudreau’s future conduct

because he has been retired from law enforcement for almost a decade. See Annis v. County of

Westchester, 939 F. Supp. 1115, 1122 (S.D.N.Y. 1996), aff’d in part, vacated in part, remanded,

136 F. 3d 239 (2d. Cir. 1998) (noting, in reducing punitive damages, that because defendant had

“retired from the police force, there is little to no change that he will be again in a position of

authority over a police officer.”). Plaintiff also cannot argue that this information is warranted to

deter other officers from committing misconduct as Boudreau’s only remaining Co-Defendant is

deceased, the prior Co-Defendants in this case were also long retired, and the allegations and

investigation that is the subject of this lawsuit occurred in 1991, over 32 years ago. As such,

preventing Plaintiff from discovering Boudreau’s private, personal and highly sensitive financial

information will not affect how other officers evaluate the severity of the award.

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            D. There is no adequate protection for Boudreau’s highly sensitive financial
               information.

       Finally, a protective order or confidentiality designation does not adequately protect

Boudreau’s privacy interests with respect to this type of information. Indeed, “[i]t seems self-

evident that a person’s personal financial records dating back five years… are something almost

all persons would prefer to keep private… [A] request for such records would be, for most,

annoying and quite likely embarrassing, unduly burdensome, and expensive as well. We think that

rare is the person, even one of clear conscience, who would unhesitatingly respond to such a

request without being compelled, even with assurances of confidentiality. Estate of Lee ex rel.

McGarrah v. Lee & Urbahns Co., 876 N.E. 2d 361, 369 (Ind. Ct. App. 2007). In fact, there is no

guarantee that this type of personal financial information will not effect other and/or future

litigation. Simply marking a document confidential and/or attorney’s eyes only does not erase the

knowledge of the information contained in the document(s) by the reader. And, as this Court is

well aware, Boudreau is not only a named Defendant in another matter currently pending in this

district brought by Plaintiff’s law firm (see Arnold Day v. Boudreau, et al., Case No. 19 CV 7286,

summary judgment briefing to be completed by February 19, 2024), Boudreau has also been sued

by this particular firm a total of eight times between 2006 and 2019. As such, while the

confidentiality and/or attorney’s eyes’ only designation may suffice to ensure that this information

is not made publicly available, it is insufficient to ensure this information will not be used for any

purpose other than preparation of trial or the instant litigation or that such knowledge will not

affect future litigation. To conclude otherwise would be to determine that this case may somehow

operate in a vacuum despite the extensive overlap, common players and common claims that are

often made in these types of reversed conviction cases, and particularly against Boudreau by this

law firm.

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    II.      Plaintiff’s Requests for Financial Information are Overbroad and not
             Proportional to the Case

          Finally, even if there was some justification for discovery of Boudreau’s personal financial

information (which there is not), Plaintiff’s requests are unreasonably overbroad and not

proportional to the needs of this case when weighing “the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to information, the parties’ resources,

the importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).

          As this Court is well aware, punitive damages are generally a modest portion of the

damages awarded in these cases. Regardless, Plaintiff has asked Boudreau to provide a balance

sheet of all his assets greater than $2500 (including a description of any ownership of stock, mutual

funds, real estate, etc.), all his liabilities, an income statement for the five years prior to filing of

the complaint, including annual salary and all sources of income for those years and any and all

documents relating to his total financial net worth, including his three most recent tax returns. See

Plaintiff’s discovery requests, Group Ex. A, supra at p. 2. It is unclear why Plaintiff needs such a

broad swath of Boudreau’s private financial information if the only intention is to justify for a jury

the requested amount of punitive damages, especially where Boudreau himself has agreed he will

not raise his financial status as a defense to punitive damages.

          Moreover, only a Defendant’s current financial condition is relevant to a punitive damages

award and therefore, it is unclear why Plaintiff needs information going back five years prior to

the filing of the Complaint, which in this case would mean information from 2014 to the present.

See Novak v. Pearlstein, 2016 U.S. Dist. LEXIS 82674, * 10-11 (N.D. Ill. June 24, 2016) (citing

Platcher v. Health Professionals, Ltd., 2007 U.S. Dist. LEXIS 68838, 2007 WL 2772855, at *3



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(C.D. Ill. Sept. 18, 2007) (‘“Only Defendants’ current assets and liabilities are relevant to the

punitive damages claims against them, and the documents requested far exceed what is necessary

to establish those figures.”). The extensive discovery Plaintiff seeks is also time consuming and

expensive. See Estate of Lee ex rel. McGarrah, 876 N.E. 2d at 369 (“[A] request for such records

would be, for most, annoying and quite likely embarrassing, unduly burdensome, and expensive

as well.”). For these reasons, the discovery sought by Plaintiff is clearly overly broad and not

proportional to the needs of the case given the factors articulated by Rule 26.

                                         CONCLUSION

       WHEREFORE, Defendant Kenneth Boudreau respectfully requests that the Court grant

this motion and enter a protective order barring any discovery of Boudreau’s personal financial

information, and for such further relief as this Court deems appropriate.


June 28, 2023                                        Respectfully submitted,

                                                     KENNETH BOUDREAU

                                                     /s/ Brittany D. Johnson-Delgado
                                                     Brittany D. Johnson-Delgado
                                                     Special Assistant Corporation Counsel
                                                     Attorney for Defendant Boudreau
                                                     Rock Fusco & Connelly, LLC
                                                     333 W. Wacker, 19th Floor
                                                     Chicago, IL 60606
                                                     (312) 474-1000
                                                     bjohnson@rfclaw.com




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